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                           UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF TEXAS
                                 AUSTIN DIVISION

 LEAGUE OF UNITED LATIN AMERICAN
 CITIZENS, et al.,

                                Plaintiffs,

 V.                                                     No. EP:21-cv-259-DCG-JES-JVB
                                                                  [Lead Case]
 GREG ABBOTT, in his Official Capacity as
 Governor of the State Texas; et al.,

                         Defendants;
 ________________________________________________________________________


 DAMON JAMES WILSON, for himself
 and on behalf of all others similarly situated,

                                Plaintiff,

 V.                                                     No. 1:21-cv-00943-RP-JES-JVB
                                                                [Consolidated Case]
 THE STATE OF TEXAS; et al.,

                               Defendants

           PLAINTIFF WILSON’S FIRST AMENDED COMPLAINT FOR

       DECLARATORY AND INJUNCTIVE RELIEF, AND REQUEST FOR

                         CERTIFICATION OF CLASS ACTION

 TO THE HONORABLE OF SAID COURT:

        COMES NOW Damon James Wilson, Plaintiff in the above captioned and

 numbered cause and, pursuant to Article I, Section 2 of the U.S. Constitution; Section 2

 of the Fourteenth Amendment to the U.S. Constitution; the Equal Protection Clause of

 the Fourteenth Amendment to the U.S. Constitution; 28 U.S.C. Sections 2201, 2202 and

 2284; 42 U.S.C. Sections 1983 and 1988; and, Rule 23 of the Federal Rules of Civil
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 Procedure; files this First Amended Complaint for Declaratory and Injunctive Relief, and

 Request for Certification of Class Action, and in this connection would respectfully show

 unto the Court as follows:

                                             I.

                                     JURISDICTION

        The Plaintiff’s complaint raises questions arising under the United States

 Constitution and federal law, and this Court has “federal question” jurisdiction pursuant

 to 28 U.S.C. §1331. Additionally, the Plaintiff’s complaint challenges the

 constitutionality of the apportionment of congressional districts enacted by the Third

 Called Session of the 87th Texas Legislature on October 18, 2021, which has been

 designated as Senate Bill 6 (“Plan C2193”), so this Court possesses jurisdiction on that

 basis as well pursuant to 42 U.S.C. §1983, 28 U.S.C. §1343(a) and §2284(a).

                                             II.

                                         PARTIES

                                             (1)

        Plaintiff Damon James Wilson (“Plaintiff Wilson”) permanently resides in the

 1400 block of Independence Trail, in the City of Grand Prairie, Dallas County, Texas. On

 “Census Day” (as designated by federal law, April 1, 2020), Plaintiff was an inmate

 confined by the Defendant State of Texas in the William P. Clements Unit of the

 Correctional Institutional Division of the Texas Department of Criminal Justice, and

 Plaintiff has been assigned “TDCJ” No. 01865939 by the State of Texas. The Clements

 Unit is located at 9601 Spur 591, in the City of Amarillo, Potter County, Texas. The

 Plaintiff is currently being confined by Defendant State of Texas in the Jester III Unit of




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 the Correctional Institutional Division of the Texas Department of Criminal Justice which

 is located at 3 Jester Rd., in the City of Richmond, Fort Bend County, Texas. Since he

 commenced serving the current term of his institutional confinement, Plaintiff has

 continuously maintained an intention to return to his permanent residence in the City of

 Grand Prairie, Dallas County, Texas, for the purpose of continuing his domicile there

 unabated.

                                             (2)

        Defendant Greg Abbott (“Defendant Abbott”) is the duly elected Governor of

 Texas, and is the Chief Executive Officer of the State of Texas under Article IV, Section

 1, of the Constitution of the State of Texas. Defendant Abbott is sued solely in his official

 capacity and he has formally entered an appearance in this action.

                                             (3)

        Defendant Dade Phelan (“Defendant Phelan”) is the duly elected Speaker and

 Presiding Officer of the Texas House of Representatives under Article III, Section 9 (b),

 of the Constitution of the State of Texas. Defendant Phelan is sued solely in his official

 capacity and he has formally entered an appearance in this action.

                                             (4)

        Defendant Dan Patrick (“Defendant Patrick”) is the duly elected Lieutenant

 Governor of Texas, and is the Presiding Officer of the Texas Senate under Article IV,

 Section 16, of the Constitution of the State of Texas. Defendant Patrick is sued solely in

 his official capacity and he has formally entered an appearance in this action.




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                                              (5)

         Defendant John Scott (“Defendant Scott”) is the Secretary of State of the State of

 Texas, is an Executive Officer of the State of Texas under Article IV, Section 1, is

 appointed by the Governor of Texas by and with the advice of the Texas Senate under

 Article IV, Section 21, of the Constitution of the State of Texas, and is the Chief Election

 Officer for the State of Texas. Tex. Elec. Code §3.001(a). Tex. Defendant Scott, who has

 been substituted as a defendant in place of former acting Texas Secretary of State Jose

 Esparza, is sued solely in his official capacity and he has formally entered an appearance

 in this action.

                                              III.

                                           FACTS

                                              (1)

         On February 8, 2018, the U.S. Department of Commerce (through the U.S.

 Census Bureau) published a final rule whereby, for purposes of apportionment of U.S.

 Representatives among the several States, it concluded it would classify inmates who are

 confined in correctional facilities as “residents” and “inhabitants” of their respective

 correctional facilities. When reaching this decision the Department of Commerce

 expressly declined to classify these inmates as persons domiciled at locations where they

 had resided prior to their confinement and at which they continued to maintained their

 domiciles on “Census Day” (April 1, 2020). As stated by the U.S. Census Bureau

 (“Bureau”) when explaining this decision:

         “The practice of counting prisoners at the correctional facility is consistent
         with the concept of usual residence, as established by the Census Act of
         1790…. ‘[U]usual residence’ is defined as the place where a person lives
         and sleeps most of the time, which is not always the same as their legal



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        residence, voting residence, or where they prefer to be counted. Therefore,
        counting prisoners anywhere other than the facility would be less
        consistent with the concept of usual residence, since the majority of people
        in prisons live and sleep most of the time at the prison.”

                                             (2)

        In January of 2021, the Bureau created a “Census Geocoder” computer program

 designed for use with 2020 census data and intended for the expressed purpose of

 allowing “[o]fficial state redistricting liaisons and technical staff to use the Census

 Geocoder” to locate “the census geography associated with a specific address.” The

 “Census Geocoder” program is designed to allow state officials to “reallocate group

 quarters populations” (including persons confined in prison) to support valid

 congressional redistricting. Upon release of the final census for 2020 by the Bureau on

 August 12, 2021, the Bureau confirmed the Census Geocoder enabled states to reallocate

 where prison inmates were deemed inhabitants within a state for purposes of

 congressional redistricting and the election of Texas’ Representatives in the United States

 House of Representatives.

                                             (3)

        Upon arrival at a Texas prison unit all inmates are required to provide the true

 location of where they resided before being confined; and the Defendants, through their

 agents, have consistently followed this official practice before, on, and after, April 1,

 2020. The Plaintiff provided to the State of Texas the true location of where he

 permanently resided before being confined, both before and at the time of the current

 term of his institutional confinement. The Plaintiff was (and is) an inhabitant and

 permanent resident of a location other than where he was confined on April 1, 2020; and

 the location where he is an inhabitant and permanent resident, which is not the location



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 where he was confined on April 1, 2020, remains and at all times relevant to this

 proceeding has remained his permanent residence and domicile.

                                             (4)

        In the Spring of 2020, official enumerators employed by the Bureau personally

 visited the Clements Unit where Plaintiff was confined, in Amarillo, Texas, for the

 purposes of enumerating inmates confined therein for the 2020 federal decennial census.

 At that time, while under the direct supervision of state prison guards, the Bureau’s

 enumerators met personally with Plaintiff, and with numerous other inmates confined at

 the Clements Unit, and requested that Plaintiff and other prison inmates provide the

 address of their permanent residences. In response to this inquiry from the Bureau’s

 enumerator, Plaintiff informed the enumerator verbally and in writing, in the presence of

 the State’s prison guards, that he permanently resided in Grand Prairie, Texas. The

 Bureau’s enumerator accepted and retained this written statement from Plaintiff for

 purposes of including Plaintiff in the 2020 federal decennial census.

                                             (5)

        On October 18, 2021, the Third Called Session of the 87th Texas Legislature

 adopted “Plan C2193” which, on the basis of population data provided by the Bureau,

 assigned Plaintiff the status of a person residing in, and an “inhabitant” of, Texas

 Congressional District 13 (“CD13”). As devised by Plan C2193, CD13 encompasses the

 location where Plaintiff was confined on Census Day (April 1, 2020), but it does not

 encompass the location of his permanent domicile where he is and was an inhabitant on

 April 1, 2020. Under applicable federal constitutional law Plaintiff is domiciled in, and is




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 an “inhabitant” and permanent resident of, Texas Congressional District 30 (“CD30”) as

 devised by Plan C2193.

                                             (6)

        The Plaintiff presently intends, and did intend on April 1, 2020, to return to and

 permanently reside at the location where he was an inhabitant on April 1, 2020, and

 where he maintained a residence and domicile prior to his current term of confinement, in

 the City of Grand Prairie, Texas. The Plaintiff has never had the intention of establishing

 a permanent residence or domicile at the prison unit wherein he was confined on April 1,

 2020, or at any other prison. The Plaintiff will be discharged from his current sentence to

 confinement by Defendants not later than February 1, 2031.

                                             (7)

        Notwithstanding the ready accessibility of the “Census Geocoder” program

 provided to Defendant State of Texas by the Bureau, the Defendant State of Texas has

 deliberately assigned Plaintiff to a congressional district within which it knew Plaintiff

 does not (and did not on April 1, 2020) permanently reside or have a domicile.

 Application of this policy by the Defendant State of Texas, which essentially operates as

 a “legal fiction” that Plaintiff permanently resides at a location other than where he is an

 “inhabitant” and has established and maintained his domicile, has adversely affected (and

 will adversely affect) the responsivity of the U.S. Representative who would otherwise

 serve as Plaintiff’s duly elected Member of Congress. Furthermore, application of the

 State of Texas’ legal fiction, as described above, has adversely affected (and will

 adversely affect) the federal representational interests shared by Plaintiff with the local

 community in which he is an actual inhabitant. Application of this policy by the




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 Defendant State of Texas has thus caused (and will cause) “representational harm” to

 Plaintiff without the Court’s intervention.

                                               (8)

        The Framers of Article I, §2 of the U.S. Constitution; the Framers of § 2 of the

 Fourteenth Amendment to the U.S. Constitution; the Framers of the Equal Protection

 Clause of the Fourteenth Amendment; and the first Congress that enacted of the U.S.

 Census Act of 1790; all understood the words “usual place of abode,” “inhabitant” and

 “usual residence” to be qualified by what has been known since antiquity as the “animo

 manendi” doctrine (which John Adams referred to as the “animus habitandi” doctrine in

 November of 1784).

                                               (9)

        Since ancient times, and continuing through the adoption and ratification of

 Article I, §2 of the U.S. Constitution; and the adoption and ratification of § 2 of the

 Fourteenth Amendment to the U.S. Constitution; and the adoption and ratification of the

 Equal Protection Clause of the Fourteenth Amendment; and at the time of the enactment

 of the U.S. Census Act by the first Congress in 1790; the “animo manendi” doctrine, as it

 would apply to “prisoners,” was settled law in the United States. This doctrine has

 consistently provided since antiquity, as it does now, that a “prisoner” who is

 involuntarily confined for a term less than life is not deemed an “inhabitant” of the

 location where he is confined, but is instead an “inhabitant” of the location where he was

 domiciled prior to his confinement.




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                                             (10)

         The “animo manendi” doctrine, as it would apply to “prisoners,” expressed the

 consensus of all legal writers whose works were published prior to 1787. Furthermore, no

 legal authority published since 1787 has questioned application of the “animo manendi”

 doctrine with regard to a determination of the residence, “habitation” or domicile of

 prisoners; and this doctrine, as settled law, has continued to be consistently applied in the

 United States through adoption and ratification of the Fourteenth Amendment and

 thereafter.

                                             (11)

         The consensus among all legal authorities, concerning the “animo manendi”

 doctrine and determination of the residence or domicile of prisoners, is plainly illustrated

 by the writings of numerous highly regarded legal authorities. These legal authorities

 include Domitius Ulpianus, Flavius Petrus Sabbatius Iustinianus, Johannis Voet, Jean

 Domat, Jean-Batiste Denisart, Jean-Jacques Burlamaqui, Emerich de Vattel, Philippe-

 Antione Merlin, Joseph Story and James Kent. With the exception of the latter two legal

 authorities (Joseph Story and James Kent), the Framers of Article I, §2 of the U.S.

 Constitution, and the Congress that enacted the U.S. Census Act of 1790, would have

 been (or were) personally familiar with some if not all of these legal authorities in 1787.

 Neither the Framers of the constitutional provisions cited above, nor the Members of the

 first Congress that enacted the U.S. Census Act of 1790, intended “prisoners” confined

 for a term less than life to be deemed “inhabitants” of the location where they were

 confined for purposes of enumeration and allocation of representation in the U.S. House




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  of Representatives. Rather, the Framers intended the words “usual place of abode,”

  “inhabitant” and “usual residence” to be qualified by the “animo manendi” doctrine.

                                             (12)

          Although the Director of the U.S. Census Bureau seems to be unfamiliar with the

  “animo manendi” doctrine and the Framers’ intentions related to that doctrine, in this suit

  Plaintiff brings no claim in this complaint against the United States, the U.S. Department

  of Commerce, or against any other federal agency of the United States government.

  However, Plaintiff does present claims against the State of Texas by his inclusion of the

  named Defendants (Abbott, Phelan, Patrick and Scott) as parties to this suit in their

  official capacities.

                                              IV.

                              PLAINTIFF’ LEGAL CLAIMS

                                              (1)

          The federal constitutional theory of equal representation in the U.S. House of

  Representatives underlies not just the method of allocating House seats to States. It

  applies as well to the method of apportioning congressional seats within States.

                                              (2)

          The basis of representation in the U.S. House of Representatives was intended by

  the Framers of the U.S. Constitution to include all inhabitants of the United States, even

  though States remained free to deny many of those inhabitants the right to participate in

  the selection of their representatives. The Plaintiff’s status as a prison inmate who is

  ineligible to vote in federal elections due to applicable state law does not extinguish his

  federal constitutional right to equal representation in the U.S. House of Representatives.




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                                              (3)

         Federal statutory law requires the State of Texas to enact new congressional

  districts each decennial following its receipt of the certified apportionment of U.S.

  Representative provided by the Clerk of the U.S. House of Representatives, along with its

  receipt of population data provided by the Bureau.

                                              (4)

         In the present case Plaintiff contends the Defendant State of Texas’ “legal

  fiction,” as described above and as applied to him for the purpose of congressional

  redistricting after the 2020 decennial census, violates his constitutional right to “equal

  representation” as guaranteed by Article I, §2 of the U.S. Constitution and §2 of the

  Fourteenth Amendment to the U.S. Constitution. The Plaintiff also contends the

  Defendant State of Texas’ legal fiction violates his constitutional right to Equal

  Protection of the Law under the Fourteenth Amendment.

                                              (5)

         The Framers of Article I, §2 of the U.S. Constitution, the Framers of the U.S.

  Census Act of 1790, the Framers of § 2 of the Fourteenth Amendment to the U.S.

  Constitution, and the Framers of the Equal Protection Clause of the Fourteenth

  Amendment, all intended the words “usual place of abode,” “inhabitant” and “usual

  residence” to be qualified by the “animo manendi” doctrine. In accordance with that

  doctrine, the Framers of those constitutional provisions, and the Congress that enacted the

  U.S. Census Act of 1790, did not intend a person confined in prison for a term of

  confinement less than life to be deemed, merely on the basis of the person’s confinement




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  alone, to have established a “residence,” an “abode” or a “domicile,” at the location of the

  person’s confinement for purposes of congressional representation.

                                              (6)

         The Plaintiff has previously provided the Defendants and the Court with detailed

  notice of the historical basis which supports his claim that, for purposes of equal

  representation in the U.S. House of Representatives, the U.S. Constitution requires that

  he be represented by a U. S. Representative elected from the congressional district

  wherein he is a permanent resident and domiciled. See Plaintiff Wilson’s Verified

  Memorandum of Law in Support of Motion for Certification of Class Action, 6-25 (ECF

  No. 55)(filed Nov. 24, 2021). The Plaintiff incorporates by reference that pleading into

  the allegations contained in this amended complaint.

                                              (7)

         Article I, §2 of the U.S. Constitution, § 2 of the Fourteenth Amendment to the

  U.S. Constitution, and the Equal Protection Clause of the Fourteenth Amendment, each

  require states, including Defendant State of Texas, to make “a good-faith effort” to

  provide “as “nearly as practical” equal representation to all persons enumerated in a

  federal decennial census regardless of whether the persons are legally qualified to vote

  under state law. These constitutional requirements condemn state congressional

  redistricting plans that provide unequal representation in the U.S. House of

  Representatives unless departures from equal representation “as nearly as practical” are

  shown to have resulted despite such a “good faith effort” by a state, and the state must

  justify each variance from equal representation “no matter how small.”




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                                               (8)

         The Plaintiff contends the Defendant State of Texas cannot constitutionally justify

  application of its legal fiction, as described herein, because it cannot satisfy the “as nearly

  as practicable” and “good faith effort” requirements that are applicable to the Plaintiff’

  claims. Here, there is no uncertainty concerning where Plaintiff was an “inhabitant” on

  April 1, 2020, within the meaning of the aforementioned constitutional provisions; and

  the Defendant State of Texas cannot persuasively assert it was “impractical” for it to

  utilize that knowledge or acquire that information, if necessary, pertaining to Plaintiff’s

  permanent residence or domicile on Census Day (April 1, 2020). In other words, due to

  the Defendant State of Texas’ actual knowledge of where Plaintiff last permanently

  resided before his current term of incarceration, and due to Defendant State of Texas’

  ready access to the “Census Geocoder” program that would easily have allowed it to

  place Plaintiff within the congressional district of his permanent domicile and where he is

  was an “inhabitant” on Census Day (April 1, 2020), the State of Texas cannot satisfy the

  aforementioned constitutional test.

                                               (9)

         When treating Plaintiff differently from others by declaring him for federal

  representational purposes as an inhabitant of where he was confined on April 1, 2020,

  rather than recognizing him as an inhabitant of the location where he had established and

  continued to maintain a permanent residence in the City of Grand Prairie, Texas, both

  before, on and after April 1, 2020, Defendants have violated the Equal Protection Clause

  of the Fourteenth Amendment. In this regard, other persons, including military personnel,

  have not been subjected to this legal fiction which has been applied to Plaintiff by




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  Defendants, but they have instead been treated by Defendants as inhabitants and

  permanent residents in accordance with the animo manendi doctrine.

                                              (10)

         The Plaintiff has sustained, and without the Court’s intervention will sustain, the

  type of “injury in fact” that is required to establish legal standing. The Defendants have

  assigned Plaintiff for purposes of representation in the U.S. House of Representatives to a

  congressional district where Defendants actually knew Plaintiff has never permanently

  resided. When doing so, Defendants diminished Plaintiff’s constitutionally protected

  “ability to influence or benefit from federal policy” in relation to the way he would

  otherwise be able “to influence and benefit from federal policy” were he considered, as

  required by the U.S. Constitution, as a resident and “inhabitant” of the district where he is

  domiciled. In this connection, Plaintiff would show, inter alia, that the voting record of

  U.S. Representatives who have been or would be elected to Congress from what is now

  CD13, discloses nothing short of outright hostility to the public policy objectives that

  Plaintiff holds and shares with the vast majority of the inhabitants who live near his

  permanent residence in Grand Prairie, Texas, and who live within the congressional

  district in which Plaintiff has his permanent residence and domicile, CD30. This fact and

  other facts that describe the ways in which Defendants’ legal fiction has diminished

  Plaintiff’s constitutionally protected “ability to influence or benefit from federal policy,”

  are provided in greater detail in a declaration executed by Plaintiff that is appended to

  this amended complaint and identified as “Plaintiff’s Exhibit A.” The Plaintiff

  incorporates by reference Exhibit A, as appended to this pleading, as if fully set out in the

  body of this amended complaint.




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                                               (11)

         Additionally, Plaintiff has sustained and without the Court’s intervention will

  sustain an “injury in fact” as the result of Defendants’ legal fiction. The Defendants’ legal

  fiction displaces him from the location where he is an “inhabitant,” and instead assigns

  him for representational purposes as an inhabitant of a congressional district within which

  he has never been an “inhabitant.” In this regard, Plaintiff contends Defendants’ legal

  fiction deprives him of equal representation in at least additional two ways. First, Plaintiff

  contends Defendants’ legal fiction significantly interferes with, if it does not entirely

  eliminate, his ability to meaningfully communicate with the U.S. Representative elected

  to represent him in the district of his domicile. Second, Plaintiff contends Defendants’

  legal fiction adversely affects the scope and efficacy of official communications to

  Plaintiff, from the U.S. Representative who would otherwise represent him, but for

  Defendant’s legal fiction.

                                               (12)

         With regard to the first consideration (meaningful communications from a person

  to a Representative), the “injury in fact” claimed by Plaintiff is identifiable as a matter of

  political science. For example, one highly esteemed organization, after conducting

  extensive research for nearly a decade (including interviews with more than 350

  congressional staffers), has concluded the particular location of the person’s residence

  dramatically affects the responsiveness of a Representative to any communication

  received.1 According to this research, “[w]hen a congressional office receives a message”

  the “first thing most look for is whether it comes from a citizen who resides in their


  1
   Tim Hysom, Communicating with Congress: Recommendations for Improving the Democratic Dialogue,
  2 (Congressional Management Foundation 2008)(“Hysom”).


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  congressional district.”2 When a message is determined to be communicated by a person

  who is classified as residing “outside” a Representative’s district, the message “as a

  matter of professional courtesy” is sometimes (but not always) referred to another office

  “without consideration” by the member of Congress to whom it has been sent. In other

  words:

              “Individual citizens…routinely attempt to send messages to Members who
              do not represent them….However, Congress is a representative body
              whose Members are beholden to their own constituents. As a courtesy,
              some Members forward messages to the appropriate Members, but few
              read or respond to messages not from their own constituents. In fact, in
              most cases…Representatives and their staffs never read ‘out-of-district’ or
              ‘out-of-state’ mail because the systems in their offices usually verify
              immediately whether a message originated from their district or state.”3

              The foregoing description of the common and customarily followed policy of

  Members of the U.S. House of Representatives provides, at a minimum, a plausible basis

  to support a finding that Defendants’ actions have diminished Plaintiff’s constitutionally

  protected “ability to influence or benefit from federal policy.” Specifically, Plaintiff’s

  constitutionally protected “ability to influence or benefit from federal policy” is

  diminished in relation to the way he would otherwise be able “to influence and benefit

  from federal policy” were he considered, as required by the U.S. Constitution, as a

  permanent resident and “inhabitant” of the district where he is domiciled. The treatment

  that would be given by congressional staff members employed by a U.S. Representative

  elected to represent CD30, when processing Plaintiff’s personal communications with the

  U.S. Representative of his domicile (CD30)(or to communications transmitted to the

  same staff members by third-parties on Plaintiff’s behalf), would thus be cognizably

  inferior to the treatment given to Plaintiff’s communications, due to CD30 staff

  2
      Hysom, supra, at 20.
  3
      Id., at 27 (italics added).


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  members’ discovery that Defendants have classified Plaintiff is an “inhabitant” and

  “permanent resident” of CD13. In other words, the discovery by congressional staff of

  CD30, that Defendants have classified Plaintiff as an inhabitant of CD13 rather than of

  CD30, would result in treatment indistinguishable from the disparate and unequal official

  treatment described above.

                                               (13)

         To the extent Plaintiff’s legal standing involves an inquiry into Plaintiff’s “injury

  in fact,” Plaintiff’s standing does not rest on mere speculation about the decisions of the

  congressional staff of U.S. Representative who would represent him in CD30, or on mere

  speculation about the decisions made by the actual U.S. Representative who would

  represent Plaintiff in CD30. Rather, as the U.S. Supreme Court has ruled in a similar

  context, Plaintiff’s alleged “injury in fact” relies instead on the “predictable effect” of

  Defendants’ action on the decisions made by those third parties.

                                               (14)

         With regard to the second consideration (the scope and efficacy of

  communications from a Representative to a person not classified as a resident of the

  Representative’s district), federal statutory law requires that communications mailed by a

  U.S. Representative to a person not residing in the Representative’s district be treated

  differently and “unequally.” Since October 1992, Representatives have been prohibited

  from sending “mass mailings” outside their districts.4 This is confirmed by the literal text

  of 39 U.S.C. §3210 (“§3210”), which provides that a Representative “may not send any

  mass mailing outside the congressional district from which [he or he] was elected.”


  4
    Franking Privilege: Historical Development and Options for Change, 18 (Congressional Research
  Service, 2016).


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  Furthermore, under §3210(d), a Representative or Representative-elect may send franked

  mail with a “simplified form of address” only “for delivery within that area constituting

  the congressional district from which [he or she] was elected.” Ibid. The disparate and

  unequal treatment applied to communications from a U.S. Representative to a person

  (regardless of whether the person is eligible to vote in federal elections or not), depending

  on where the person has been designated as an “inhabitant” for representational purposes,

  provides, at a minimum, a plausible basis to support a finding that Defendants’ actions

  have diminished Plaintiff’s constitutionally protected “ability to influence or benefit from

  federal policy” in relation to the way he would otherwise be able “to influence and

  benefit from federal policy” were he considered, as required by the U.S. Constitution, as

  a resident and “inhabitant” of the district where he is domiciled.

                                              (15)

         This amended complaint alleges the State’s “policy” is actually being directly

  applied to him “currently,” and that the same policy will be applied to him by Defendants

  for the next decade. An undisputed “current application” of a policy, as in the present

  case, which is ongoing and which Defendants have manifestly expressed an intention to

  apply to Plaintiff in the future, necessarily satisfies the “certainly imminent” requirement

  for legal standing.

                                              (16)

         The representational harms Plaintiff has sustained and will sustain without the

  Court’s intervention are “traceable” to acts of Defendants, insofar as that showing is

  required to establish Plaintiff’s legal standing to challenge and seek equitable relief as a

  remedy for Defendants’ actions. Each of the Defendants directly participated in the




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  official decision to displace Plaintiff for representational purposes from the congressional

  district in which he is an “inhabitant” as defined by the U.S. Constitution. Furthermore,

  the prospective remedial relief requested by Plaintiff would properly be directed at each

  of the Defendants in order to prevent a recurrence of the constitutional violations to

  which Plaintiff has been and otherwise will be subjected. Defendant Abbott is the duly

  elected Governor of Texas, and is the Chief Executive Officer of the State of Texas under

  Article IV, Section 1, of the Constitution of the State of Texas. As such, the authority to

  call a special session of the Texas Legislature, for purposes of revising Plan C2193 to

  conform the Court’s remedial order, would rest solely with Defendant Abbott. Defendant

  Phelan is the duly elected Speaker and Presiding Officer of the Texas House of

  Representatives under Article III, Section 9 (b), of the Constitution of the State of Texas.

  As such, Defendant Phelan would necessarily exercise authority to oversee any revision

  of Plan C2193 and would hold an official responsibility to assure legislative compliance

  with the Court’s remedial order. Defendant Patrick is the duly elected Lieutenant

  Governor of Texas, and is the Presiding Officer of the Texas Senate under Article IV,

  Section 16, of the Constitution of the State of Texas. As such, Defendant Patrick would

  necessarily exercise authority to oversee any revision of Plan C2193 and would hold an

  official responsibility to assure legislative compliance with the Court’s remedial order.

  Defendant Scott is the Secretary of State of the State of Texas, is an Executive Officer of

  the State of Texas under Article IV, Section 1, and is appointed by the Governor of Texas

  by and with the advice of the Texas Senate under Article IV, Section 21, of the

  Constitution of the State of Texas. Defendant Scott is also the Chief Election Officer for

  the State of Texas. As such, Defendant Scott would hold an official responsibility to




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  assure administrative compliance with a remedial order issued by the Court that either

  requires implementation of a judicially congressional redistricting plan that would be

  applied in the interim to the next congressional election in November of 2022, or that

  compels a legislative revision of Plan C2193, should Plaintiff prevail in this cause.

                                              (17)

         An order or judgment entered by this Court would be capable of “redressing” the

  harms about which Plaintiff complains. The Plaintiff’s claims therefore satisfy the

  “redressability” requirement for legal standing.

                                              (18)

         The Plaintiff’s claims seeking prospective remedial relief are not barred by the

  Eleventh Amendment to the U.S. Constitution or the doctrine of sovereign immunity.

  While states are generally immune from suit under the terms of the Eleventh Amendment

  and the doctrine of sovereign immunity, the U.S. Supreme Court has recognized an

  exception to the Eleventh Amendment and the doctrine of sovereign immunity that

  allows an action that seeks, as in the present case, prospective equitable relief that would

  prevent state officials from applying or enforcing state laws that are contrary to federal

  law.

                                              (19)

         Neither the acts about which Plaintiff complains, nor the prospective remedial

  relief he seeks, are barred by the doctrine of “legislative immunity.” The scope of

  legislative immunity has never encompassed all conduct that merely relates, in some way,

  to the legislative process. Legislative immunity is doctrinally limited to acts that are

  “clearly” a part of “the legislative process” and which involve “the due functioning of the




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  process.” Thus, conduct to which the doctrine applies must be an “integral part” of the

  “deliberative and communicative process” by which legislators participate in the

  formulation and consideration of legislation. Because Plaintiff challenges the validity of a

  “legislative act” occurring after all legislative “speech,” “debate” and “deliberations” had

  concluded, and he therefore does not challenge conduct of Defendants occurring during

  the “deliberative legislative process,” the legislative immunity doctrine does not bar

  either Plaintiff’s claims against any of the Defendants or the relief he seeks against them.

                                              (20)

         Defendant Governor Abbott has “enforcement” authority, as it would pertain to

  Plan C2193, under Texas law. Among other things, Defendant Abbott is vested with

  authority to “order . . . each general election for . . . members of the United States

  Congress.” Tex. Elec. Code §3.003(a)(1). The Plaintiff has alleged an election under Plan

  C2193 would deprive him of “equal representation” under various provisions of the U.S.

  Constitution. Because Plaintiff seeks an injunction that would prohibit Defendant Abbott

  from exercising an “enforcement” authority that is a necessary predicate to conducting an

  allegedly unconstitutional election, “legislative immunity” does not bar the prospective

  equitable remedy Plaintiff seeks against Defendant Abbott.

                                              (21)

         Defendant Secretary of State Scott is the Chief Election Officer for the State of

  Texas. Tex. Elec. Code §3.001(a). When a person who performs “official functions in the

  administration of any part of the electoral processes” fails “to comply with an order from

  the secretary of state,” the secretary may seek “enforcement” of the order. Tex. Elec.

  Code §3.005(c). Defendant Scott thus has “enforcement” authority, as it would pertain to




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  Plan C2193, under Texas law. The Plaintiff has alleged an election under Plan C2193

  would deprive him of “equal representation” under various provisions of the U.S.

  Constitution. Because Plaintiff seeks an injunction that would prohibit Defendant Scott

  from exercising an “enforcement” authority in furtherance of an allegedly

  unconstitutional election under Plan C2193, “legislative immunity” does not bar the

  prospective equitable remedy Plaintiff seeks against Defendant Scott.

                                               (22)

          Finally, no assertion by Defendants that Plaintiff has failed to “exhaust” his

  “administrative remedies” before filing this suit would have merit. Under Texas law

  inmates confined in a state prison may seek “administrative remedies” through a

  “grievance” process. The substantive and procedural rules that govern Texas’ inmate

  grievance process are contained in Texas’ “Offender Grievance Operations Manuel” (last

  revised Jan. 2011)(“OGOM”).

                                               (23)

          While under the OGOM prison officials employed by the Defendant State of

  Texas are ethically bound to “[u]phold all federal, state and local laws, and adhere to the

  agency’s policies, procedures, rules and regulations,” the OGOM has repeatedly

  informed (and continues to inform) Texas’ prison inmates that their challenges to “[s]tate

  and federal court decisions, laws, and regulations” are “Non-Grievable Issues.” Thus,

  because Texas’ congressional redistricting plan constitutes a “state law” that is “non-

  grievable,” and because there is no “administrative remedy” that is “available” to

  Plaintiff on that basis within the meaning of 42 U.S.C. §1997e (a), no legal obstacle to

  the District Court’s jurisdiction is presented in this case.




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                                                V.

                REQUEST FOR CERTIFICATION OF CLASS ACTION

                                                (1)

         This action is brought by Plaintiffs as a class action, on his own behalf and on

  behalf of all others similarly situated, under the provisions of Rule 23 of the Federal

  Rules of Civil Procedure (“Rule 23”). The Plaintiff hereby moves the Court to certify this

  case as a class action pursuant to Rule 23.

                                                (2)

         In this suit Plaintiff seeks a declaratory judgment and a permanent injunction

  predicated on claims that his federal constitutional right to equal representation in the

  U.S. House of Representatives has been violated by the Defendants’ legal fiction that

  has unconstitutionally designated him as an “inhabitant” of a location at which he was

  confined on April 1, 2020, rather than where he was, as a constitutional matter, an

  “inhabitant” on that date. In this suit Plaintiff does not seek compensatory damages.

                                                (3)

         The class to be represented by Plaintiff in this action, and of which Plaintiff is

  himself a member, consists of all inmates: a) who are involuntarily confined by the

  Defendant State of Texas in its prisons for a term of confinement less than life; b) who

  have been designated by Defendants for purposes of federal representation in the U.S.

  House of Representatives as “inhabitants” of the location where they were confined on

  April 1, 2020; and, c) who have not been designated by Defendants as inhabitants, for

  congressional representational purposes, at the location of the domiciles that they




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  maintained immediately prior to their terms of confinement, to which they intend to

  return after release from confinement.

                                              (4)

         The exact number of members of the class, as identified and described, is not

  known, but it is estimated that there are not less than 50,000 members. The class is so

  numerous that joinder of individual members is impracticable.

                                              (5)

         As disclosed by federal litigation commenced in Texas after the 2010 decennial

  census, the State of Texas in 2011, as it has in the present case, unconstitutionally moved

  the location of inmate-residences from where they were domiciled, to locations at which

  they were confined on “Census Day” (April 1, 2020). As a result, and as was shown by

  uncontroverted evidence in the record of that litigation, under Texas’ former

  congressional redistricting plan (Plan C185, as enacted in 2011) inmates domiciled in the

  densely populated urban areas of Dallas and Harris Counties were displaced by the State

  of Texas’ decision to draw electoral districts that did not recognize 49,437 inmates to be

  “inhabitants” of those two counties alone. Perez v. Texas, No. 5:11-cv-00360-OLG (W.

  D. Tex.), Plaintiff’s Response in Opposition to State’s Motion to Dismiss, 6-7, and

  Exhibits 7 and 8 (State’s Written Admissions)(filed Aug. 23, 2011)(ECM Dkt.# 226, 226-

  7, and 226-8 Although more than a decade has elapsed since the decennial census of

  2010, these figures support Plaintiff’s estimation that the class certified in the present

  case would consist of not less than 50,000 members.




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                                                (6)

          There are common questions of law and fact in this action that relate to, and

  affect, the rights of each member of the class; and the relief sought by Plaintiff is

  common to the entire class. Namely, the common questions of law involve whether the

  federal constitutional rights of the class members to equal representation in the U.S.

  Congress have been violated by the Defendants’ allocation of class members to a location

  at which they were confined on April 1, 2020, rather than where they are inhabitants.

                                                (7)

          The claims of Plaintiff, who is representative of the class, are typical of the claims

  of the class, in that the claims of all members of the class, including Plaintiff, depend on a

  showing of the acts and omissions of Defendants giving rise to the constitutional rights of

  Plaintiff to the relief sought. There is no conflict between Plaintiff and other members of

  the class with respect to this action, or with respect to the claims for relief set forth in this

  complaint.

                                                (8)

          This action should be certified as a class action, for the reason that the prosecution

  of separate actions by individual members of the class would create a risk of varying

  adjudications with respect to individual members of the class which would establish

  incompatible standards of conduct for the Defendants, all of whom oppose the interests of

  the class.

                                                (9)

          This action would be properly maintained as a class action, in that the prosecution

  of separate actions by individual members of the class would create a risk of




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  adjudications with respect to individual members of the class that would, as a practical

  matter, be dispositive of the interests of the other members not parties to the

  adjudications. Additionally, separate actions by individual members of the class would

  substantially impair or impede the ability of class members to protect their respective

  interests.

                                               (10)

          This action would be properly maintained as a class action inasmuch as the

  Defendants, all of whom oppose the class, have acted or refused to act, as more

  specifically alleged in this complaint on grounds which are applicable to the class, and

  have by reason of such conduct made appropriate final injunctive relief and

  corresponding declaratory relief with respect to the entire class, as sought in this action.

                                               (11)

          As stated in a declaration executed by Plaintiff that is in the record, see Plaintiff

  Wilson’s Verified Memorandum of Law in Support of Motion for Certification of Class

  Action, [page 45 of 46”] (ECF No. 55)(filed Nov. 24, 2021), undersigned counsel for

  Plaintiff has discussed and thoroughly explained to Plaintiff the nature of a class action

  lawsuit and the potential advantages and disadvantages to him and his case by proceeding

  with a class action lawsuit rather than individually. After conferring with under signed

  counsel, Plaintiff has consented to his case being certified as a class action, and has

  affirmed that should he be approved by the Court as the representative party for the class,

  he will fairly and adequately protect the interests of the class at all times.




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                                              (12)

         The Plaintiff, as the representative party for the class, is able to, and will, fairly

  and adequately protect the interests of the class. The Attorney-in-Charge for the Plaintiff

  in the present case, Richard Gladden, is experienced with complex federal litigation and

  has shown himself capable of providing excellent representation in numerous cases

  before this Court, as well as before other federal courts including the U. S. Supreme

  Court, particularly in area of litigation arising under 42 U.S.C. §1983. With regard to

  litigation involving the right to federal representation in the U.S. Congress, Mr. Gladden

  served as Attorney-in-Charge for plaintiffs Walter Session, Frenchie Henderson, and

  others (the “Cherokee County Plaintiffs”), arising from the State of Texas’ re-

  redistricting of its congressional districts in 2003. Session v. Perry, 298 F. Supp. 2d 451

  (E.D. Tex. 2004), on remand sub. nom., Henderson v. Perry, 399 F. Supp. 756 (E. D.

  Tex. 2005). The nature of the federal constitutional claim presented by Mr. Gladden on

  behalf of the plaintiffs in Session v. Perry, supra, was the subject of a subsequently

  published law review article, Gladden, The Federal Constitutional Prohibition Against

  “Mid-Decade” Congressional Redistricting: Its State Constitutional Origins, Subsequent

  Development, and Tenuous Future, 37 Rutgers L.J. 1133 (2005-2006). Should he be

  appointed as Attorney-in-Charge for the class in the present case, Mr. Gladden would

  actively conduct and be directly responsible for the litigation. For these reasons, Plaintiff

  moves the Court to appoint Mr. Gladden as class counsel pursuant to Rule 23(g).

                                   RELIEF REQUESTED

  In light of the foregoing facts and claims, the Plaintiff moves the Court to:

  a) Certify this case as a class action pursuant to Rule 23;




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  b) Set a hearing on any pretrial motion for relief filed by Plaintiff, including but not

     limited to a motion for summary judgment;

  c) Set a date for a trial on the merits of this case, if a trial be necessary; and, after full

     consideration of the merits of Plaintiff’s claims at trial,

  d) Issue a declaratory judgment, pursuant to 28 U.S.C. §2201, which declares Plan

     C2193, as applied to Plaintiff and to others similarly situated, to be in violation of

     Article I, §2 of the U.S. Constitution, § 2 of the Fourteenth Amendment to the U.S.

     Constitution, and the Equal Protection Clause of the Fourteenth Amendment;

  e) Issue a permanent injunction, pursuant to 28 U.S.C. §2202, prohibiting the

     Defendants, their agents, successors, assigns, or anyone acting in concert with them,

     from engaging in any actions for the purpose electing, at any primary or general

     election, any person to serve as a Member of the United States House of

     Representatives from the State of Texas under Plan C2193;

  f) Award the Plaintiff’s counsel reasonable costs and reasonable attorney’s fees

     pursuant to 42 U.S.C. §1988, which are shown to be necessary to the prosecution of

     this matter; and

  g) Grant such other and further relief to which the Plaintiff and others similarly situated

     may show themselves entitled.

                                             PRAYER

           WHEREFORE, PREMISES CONSIDERED, Plaintiff prays that the Court will

  certify this case as a class action as requested herein; that the Court will grant the relief

  requested by Plaintiff for himself and on behalf of others similarly situated; and that the




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  Court will grant such further or additional relief to which Plaintiff and others similarly

  situated may show themselves entitled.

                                               Respectfully submitted,

                                               /s/ Richard Gladden
                                               Texas Bar No. 07991330
                                               1204 W. University Dr. Suite 307
                                               Denton, Texas 76201
                                               940.323.9300 (voice)
                                               940.539.0093 (fax)
                                               richscot1@hotmail.com (email)
                                               Attorney-in-Charge for Plaintiff

                              CERTIFICATE OF SERVICE

         This is to certify that a true copy of this document was served on all Defendants

  using the electronic CM/ECF filing system, via their Attorney of Record, Patrick K.

  Sweeten, and by the same means on all Plaintiffs having cases consolidated with this

  case, on this 13th day of December, 2021.

                                               /s/Richard Gladden




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                                        PLAINTIFF WILSON'S EXHIBIT A
   IN THE STATE OF TEXAS

   COUNTY OF FORT BEND

                                 DECLARATION IN LIEU OF

                                      SWORN AFFIDAVIT

             My name is Damon James Wilson and my date of birth is January 11, 1979. I

   am currently confined by the Correctional Institutions Division of the Texas Department

   of Criminal Justice in the Jeter III Unit located 3 Jeter Rd., in the City of Richmond, Fort

   Bend County, Texas. My TDCJ inmate identifying number is 01865939. I am the named

   Plaintiff in Damon James Wilson v. The State of Texas, et al., No. 1:21-cv-00943-RP-

   JES-NB, which case is now pending in the United States District Court for the Western

   District of Texas, El Paso Division (consolidated). It is my intention that this declaration

   be filed with the Court on my behalf at the discretion of my attorney, Richard Gladden.

             I have been advised that under Section 132.00l(a) of the Texas Civil Practice

   and Remedies Code an unsworn declaration executed by an inmate who is confined in the

   Correctional Institutions Division. of the Texas Department of Criminal Justice may be

   used in lieu of a sworn declaration, verification, certification, oath, or affidavit. Having

   been so informed, I hereby declare under penalty of perjury that the facts stated above,

   and the facts stated hereinafter, are all true and correct.

             On "Census Day," April 1, 2020, I was confined by the State of Texas at the

   William P. Clements Unit of the Correctional Institutional Division of the Texas

   Department of Criminal Justice. The Clements Unit is located at 9601 Spur 591, in the

   City of Amarillo, Potter County, Texas. Prior to my current term of confinement by the

   State of Texas, I physically resided in the 1400 block of Independence Trail, in the City



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   of Grand Prairie, Dallas County, Texas. On April 1, 2020, it was my intention to resume

   my permanent residence in the City of Grand Prairie, Texas, upon my release from

  confinement. Prior to my arrival at the William P. Clements Unit, and at the time that I

  began serving my current sentence to confinement, I provided Texas officials with the

  true location of where I permanently resided. I believe that my permanent residence

  address in Grand Prairie, Texas, was also provided to Texas prison officials in the "pen

  packet" they received at the time I began my current sentence to confinement. On April

   1, 2020, I was (as I continue to be now) an inhabitant of a location other than Amarillo,

   Texas, because I am now, as I was on April 1, 2020, a permanent resident of the City of

  Grand Prairie, Texas.

           Under Texas Senate Bill 6 and "Plan C2193," which was adopted by the Texas

  Legislature on October 18, 2021, I have been wrongly designated as an "inhabitant" and

  resident of Amarillo, Texas, and of Texas Congressional District 13 ("CD13"). As

  established by Plan C2193, CD 13 encompasses the location where I was confined on

  April 1, 2020. CD13 in Plan C2193 does not encompass the location of where I was then,

  and am now, an inhabitant and a permanent resident, that is, in the City of Grand Prairie,

  Texas.

           Before and since my most recent term of confinement in the Texas prison system

  I have continuously maintained an intention to return to my permanent residence in the

  City of Grand Prairie, Dallas County, Texas, for the purpose of continuing my permanent

  residence and domicile there. I have never had any intention of establishing a permanent

  residence or domicile at any prison unit. I will be discharged from my present sentence to

  confinement not later February 1, 2031.



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          My attorney, Richard Gladden, has discussed and thoroughly explained to me the

  nature of a class action lawsuit and the potential advantages and disadvantages to me and

  my case by proceeding with a class action lawsuit rather than individually. After

  conferring with Mr. Gladden I fully understand what he has explained to me; he has

  answered all of my questions about this; and I consent to the filing of a motion for the

  purpose of causing my case to be certified as a class action. Should I be approved by the

  Court as the representative party for the class, I will fairly and adequately protect the

  interests of the class at all times.

          I am currently 42 years old. Like most other people, throughout my life I have

  kept myself informed about current affairs, including political matters involving public

  policy debates at the local and national levels. Prior to my becoming ineligible to vote

  under Texas law as the result of a felony conviction, I not only expressed my opinions

  and support for political candidates who I thought should be elected to local, state and

  national offices, but I also expressed my opinions and support for governmental policies

  that I thought should be adopted, whether they involved local or national issues. The

  public policy issues I supported almost invariably concerned matters that could have

  potentially impacted the local community in which I lived. My interest in affecting public

  policy outcomes, including those occurring at the federal level, has remained unchanged

  since I have been confined and this remains true today even though I am not currently

  eligible to vote.

          I have never voluntarily resided in Amarillo, which is where the congressional

  district to which I have been assigned is centered. I do not share any political or other

  public policy interests with the vast majority of persons who live in Amarillo and are



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  inhabitants of CD 13. Among other things, the voting record of U.S. Representatives who

  have been or would be elected to Congress from what is now CD13, discloses nothing

  short of outright hostility to the public policy objectives that I share with the vast

  majority of the inhabitants who live near my permanent residence in Grand Prairie,

  Texas, and who live within the congressional district in which I truly have my permanent

  residence, CD30.

         It angers me that partisan factions in the Texas legislature think it is appropriate,

  and legal, to declare that I live wherever they choose to say I live, regardless of the facts.

  They have done this merely to advance their own political ambitions wholly unrelated to

  the objective of providing fair and equal representation to all. It is my understanding that

  the U.S. Senate was supposed to represent the states in the federal government, and that

  the U.S. House of Representatives was intended to represent the People, not the states.

  The action taken by the State of Texas, about which I am complaining, is clearly

  designed by Texas to claim, for itself, an unconstitutional right to control representation

  in both chambers of the federal government, to the exclusion of the People.

         I am entitled to representation by a member of the U.S. House of Representatives

  who resides in, or at least has an interest in, the local affairs of the community where I

  reside, Grand Prairie, Texas, not a person from far West Texas whom a faction within the

  Texas legislature prefers. Such a representative from West Texas would hardly give a flip

  about what either I think, or what the majority of the inhabitants think, in the area of

  Grand Prairie, Texas and in CD30. The same would not be true of a person elected to

  represent me in CD30, who would depend on the views of their constituents in CD30 for

  their election. Again, comparison of the voting records of those who would represent me



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  in CD 13, in contrast to the voting records of those who have represented or would

  represent me in CD30, demonstrates a radical difference between the public policy views

  of the inhabitants of these two communities and their respective political interests.

         The action taken by members of the Texas legislature when declaring that I

  permanently reside "wherever their hearts desire" plainly deprives me, and those with

  whom I share common public policy interests in CD30, of the right to fair and equal

 . representation in the U.S. House of Representatives. This cannot have been intended by

  our Founding Fathers.

  I hereby declare under penalty of perjury that the foregoing facts are all true and correct.

  SIGNED AND EXECUTED by me on this ~:) day ofNovember, 2021.




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